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 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7 UNITED STATES OF AMERICA,                              )
                                                          )
 8                         Plaintiff,                     )       Case No. 2:16-cr-00083-JCM-NJK
                                                          )
 9 vs.                                                    )       ORDER
                                                          )
10 REGINALD LOWE,                                         )       (Docket No. 43)
                                                          )
11                         Defendant.                     )
                                                          )
12
13          On June 22, 2016, Defendant Reginald Anthony Lowe filed a motion to dismiss counsel. Docket
14 No. 43. On June 27, 2016, the Court set a hearing on Defendant’s motion for June 27, 2016. Docket
15 No. 44. On June 28, 2016, Defendant’s counsel filed a notice on the docket, stating that Defendant
16 intends to withdraw his motion to dismiss counsel, but is currently hospitalized. Docket No. 45.
17          Based on counsel’s representations, the Court continues the hearing on this matter to July 18,
18 2016, at 3:00 p.m. in Courtroom 3A, to allow Defendant time to file his motion to withdraw, if he
19 chooses to do so. Defendant and his counsel are required to be present in the courtroom at the continued
20 hearing.
21          The Court will vacate this hearing if it grants a motion to withdraw the motion to dismiss counsel
22 prior to the date of the hearing.
23          IT IS SO ORDERED.
24          DATED: June 28, 2016.
25
                                                   ______________________________________
26                                                 NANCY J. KOPPE
                                                   United States Magistrate Judge
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